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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

DAVENPORT DIVISION
UNITED STATES OF AMERICA,
Plaintiff, No. 3:07-cr-0634-02-JAJ
VS.
CHRISTOPHER JAMES McGEE, VERDICT FORM
Defendant.

 

 

COUNT 1 - Conspiracy to Distribute Crack Cocaine

With regard to the crime of Conspiracy to Distribute Crack
Cocaine, as charged in Count 1 of the Indictment, we, the jury,
find the defendant, Christopher James McGee:

NOT GUILTY 4 GUILTY

NOTE: If you found the defendant Christopher James McGee “guilty” of the conspiracy crime
charged in the Indictment, you must answer the following interrogatory.

 

Interrogatory #1: We, the jury, find beyond a reasonable doubt, that the amount of crack
cocaine the defendant is responsible for is:

4 Fifty (50) grams or more of crack cocaine;
Five (5) grams or more, but less than fifty (50) grams of crack cocaine; or

Less than five (5) grams of crack cocaine.

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COUNT 2 - Possession of Crack Cocaine with Intent to Distribute

With regard to the crime of Possession of Crack Cocaine with
Intent to Distribute on July 7, 2007, as charged in Count 2 of the

Indictment, we, the jury, find the defendant, Christopher James
McGee:

NOT GUILTY ~ MO GUILT

NOTE: If you found the defendant“guilty” of the crime charged in Count 2 of the Indictment, you
must answer the following interrogatory.

Interrogatory #1: We, the jury, find beyond a reasonable doubt, that the amount of crack
cocaine that the defendant possessed with intent to distribute was:

50 grams or more

5 grams or more, but less than 50 grams

Less than 5 grams

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We, the jury, unanimously agree to all of the verdicts above.

Date: June 4, 2004

 

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